Case 2:04-bk-69314                                      Doc 2                           Filed 12/08/04 Entered 12/08/04 13:18:19                                                                                             Desc Main
                                                                                        Document      Page 1 of 1




     Form 1015-2                                                                                                                                                                  Case No.


                                 STATEMENTOF RELATEDOR COMPANIONCAS~
                                 INFORMATION REQUIREDBY LOCAL RULE 1015-2
                         UNffED STAT~ BANKRUPTGYCOURT,SOUTHERNDISTRICf OF OHIO

                 Please check the appropriate box with respectto each of the following items:

  I .If      any previous bankruptcy0f anykind wasfi led in anycourt within the last 6 years by this debtor or anyentity
 related to the debtor as described below, or if the debtor or any entity related to the debtoras described below has a
 pending bankruptcy case in anybankruptcycourt regardlessofwhen suchcase wasfiled, then set forth the nameof the
 debtor, case number, date filed, chapter filed under, district and division where the caseis or was pending, current
 statusof the case, anyreal estatein the caseandjudge assignedto the case. Ifno suchpetitions were filed, so indicate:

                 -         This debtor (identical individual, including DBAs..FDBAs)
                           This debtor (identical entity)                        ,
                           Spouseof this debtor
            7              Corporation, if this debtor is or was a major sharehOlderof the corpornfinn
                           Major Shareholderof this debtor (if this debtor is a corporation)
                           Affiliate(s) of this debtor (see §JOI(2) of the Code)
                           Partnership,if this debtor is or was a general partner in the partnership
                           General partner of this dcbtor (if this dcbtor is a partnership)
                           General partner of this debtor (if this dcbtor is or was another gcneral partner therewith)
                           Entity with which this dcbtor has substantial identity of financial interestsor assets

In Re Columbus Microfilm,Inc.,Case                                                                                 No 04-60904.                              filed                  July         2004.Chapter                           11.

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2.                       NONEOF mE ABOVEAPPLY

I DECLARE. UNDER PENALlY OF PERJURY.1HA T 1HE FOREGOING IS mUE AND CORRECT.
                                                                                                                                                                                                                                               '"""'-
Executed
      at:                   Q., t"" lit M                                                         .Ohio
Dated:               I a../rf,'"f                                                                                                      D    EB~ffa~~~I
                                                                                                                                       DEBTOR
                                                                                                                                                                                      ~'l'{..tLtl;~
                                                                                                                                                                                                        -

                                                                                                                                      JOINTDEBTOR

                                                D~(GNA110N ASCONSUMEROR BUSINFSSCASE
                                              INFORMA110N REQUIREDBY LOCAL RULE IOO2-1(e)

         Pleasecheck dIe appropriate box

         -Conswncr                               case;       debtor                is        an       individual      wi¥>       is      not      engaged         in    business        and      owes       consumer          debt      only



         -Business                            case;        debtor             is        a         corporation

         -Business                            case;        debtor            is         a        partnership                                                  ,



         -.-f/           Business             case;       debtor             is         an          individual       currently                  engaged      in        business


         -Business                            case;         debtor                is        an        individual      fonnerlyengaged                        in        business        who       owes       more       for   business




         -Business
                         debts         than       for


                                              case;
                                                         consumer


                                                          case         was
                                                                                            debts


                                                                                        commenced                   under        :    chapter      ~~                             f1:jf.t;f-
                                                                                                                                                                                       :f.L;f-




                                                                                                                                                          AlmRNEY
